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                           Exhibit 10:
               Barbara Levine Expert Report
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                 DECLARATION OF BARBARA R. LEVINE
I, Barbara R. Levine, declare as follows:
Background and Experience
   1. I am an attorney who was admitted to the Michigan Bar in 1974. During my
      professional career, I have served as assigned counsel for indigent defendants
      appealing their felony convictions; taught as an adjunct at the University of
      Michigan and Wayne State University Law Schools, and as an assistant pro-
      fessor at the University of Toledo Law School; served as a commissioner for
      the Michigan Supreme Court; administered the Michigan Appellate Assigned
      Counsel System; and served as co-counsel in several prisoners’ rights law-
      suits.

   2. From 2003 to 2013, I was the Executive Director of the Citizens Alliance on
      Prisons and Public Spending (CAPPS). I was the associate director of CAPPS
      from 2013 to 2017. CAPPS was a research and advocacy organization focused
      on increasing the use of alternatives to incarceration. In that capacity, I fre-
      quently testified before the Michigan Legislature. Since 2013, I have served
      as a consultant to Safe and Just Michigan (SJM), the successor organization
      to CAPPS.

   3. Throughout my work with CAPPS and SJM, I engaged in empirical research
      using publicly available data from various sources, particularly the Michigan
      Department of Corrections (MDOC). I then authored or co-authored data-
      based reports on various aspects of Michigan’s criminal justice system that
      were published by CAPPS/SJM, a list of which is attached as Appendix A. I
      also published a law review article, while teaching, based on an empirical
      analysis of ineffective assistance of counsel claims raised by Michigan defen-
      dants on appeal. 1

   4. In January 2016, I co-authored an amicus curiae brief filed in Does #1-5 v
      Snyder, No. 15-2346/2486 (6th Cir.) (Does I).

   5. Because of my familiarity with Michigan data sources and experience with
      utilizing those sources in empirical research, I was asked to analyze, to the

   1
     Barbara Levine, Preventing Defense Counsel Error – An Analysis of Some
Ineffective Assistance of Counsel Claims and Their Implications for Professional
Regulation, 15 U. Tol. L. Rev. 1275 (1984).
                                            1
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      extent possible, the costs of maintaining and enforcing Michigan’s Sex Offen-
      der Registry (SOR).

   6. The information in the report is based primarily on MDOC annual statistical
      reports, publicly available legislative documents, other published reports, and
      court filings in Does I, No. 2:12-cv-11194 (E.D. Mich.) and Does #1-6 v.
      Snyder, No. 16-cv-13137 (E.D. Mich.) (Does II). I also obtained additional
      data by submitting a public records request (under the Freedom of Information
      Act) to the Michigan State Police (MSP). The sources for all figures are indi-
      cated either in the body of this declaration or accompanying footnotes.
EXECUTIVE SUMMARY
   7. Michigan’s registry is very large, with about 55,000 total registrants, of whom
      about 45,000 are Michigan residents. Of that number, about 35,000 are active
      registrants and about 10,000 are incarcerated registrants.

   8. Over 70 percent of Michigan registrants are classified as Tier III, and therefore
      subject to lifetime registration.

   9. Almost three-quarters of Michigan registrants have offenses that pre-date the
      2011 amendments to Michigan’s Sex Offenders Registration Act (SORA).
      That same group has been on the registry for at least ten years.

  10. The MSP SOR Unit has a gross annual budget of $1 million. The total costs
      related to SORA administration, registration, reporting, and enforcement for
      the MSP and local law enforcement agencies are unknown, but are likely
      significant, given that some 35,000 active registrants must report regularly,
      and given that law enforcement has, at least in the past, regularly engaged in
      sweeps to monitor registrants.

  11. Data from 1998 to 2012 show that there were 14,884 prosecutions for SORA
      violations over that 15-year period, averaging just under 1,000 per year. Data
      from 2010 to 2019 show an average of about 880 prosecutions per year
      (though this data set appears to under-report misdemeanor cases). These
      prosecutions impose significant but unknown costs on prosecutors’ offices,
      appointed defense counsel, and courts.

  12. Michigan spends about $11,254,000 a year incarcerating people for SORA-
      related convictions, which includes an average of about $5,377,000 annually
      to incarcerate people in MDOC prisons, and an average of about $5,877,000
                                          2
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      annually to incarcerate people in county jails. These figures do not include the
      costs for parole and probation supervision, or the cost of incarcerating people
      on automatic parole and probation revocations that are mandatory under
      SORA.

  13. Although additional information would be needed in order to determine the
      full cost of Michigan’s registry, it is reasonable to believe that in addition to
      the more than $11 million in incarceration costs and $1 million for the SOR
      unit, there are several million more in costs associated with administration,
      registration, investigation, enforcement (like registry sweeps), and prosecu-
      tion of registry violations, including litigation, court, and probation costs.
Michigan’s Sex Offender Registry: Basic Data
  14. Michigan’s registry includes:

      a. Non-incarcerated active registrants who are state residents;
      b. Incarcerated registrants; and
      c. Inactive nonresidents—people who previously resided or worked in Mich-
         igan and were subject to registration, but who are not presently living or
         working in the state.

  15. According to filings in Does II, on September 2, 2021, there were a total of
      55,308 registrants, comprised as follows:

         • 35,049 active non-incarcerated registrants (63.4%);
         • 10,627 incarcerated registrants (19.2%);
         • 9,632 inactive nonresident registrants (17.4%).
      The combined total number of active non-incarcerated registrants and incar-
      cerated registrants is 45,676. See Does II, Parties’ Joint and Separate State-
      ments Regarding Outstanding Issues, R. 127, PageID.2589 (Sept. 2, 2021).
  16. According to information provided by the MSP SOR Unit on January 14,
      2022, in response to a public records (FOIA) request:

      a. There are currently 53,451 people on Michigan’s registry. (It is unclear
         why this number would be almost 2,000 less than the total reported a few
         months earlier to the court in Does II.)



                                          3
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       b. The number of registrants in each tier is:

          1) Tier 1 – 3,464 (6.5%)
          2) Tier 2 – 10,798 (20.2%)
          3) Tier 3 – 39,030 (73%)
          4) Other Special Conditions – 27
          5) No Risk Classification Yet – 132

       c. Although offense dates were not available for all registrants, 39,131 were
          convicted before July 1, 2011, meaning that their offenses were necessarily
          before that date. There were an additional 2,839 registrants with an offense
          date before July 1, 2011, and a conviction date after July 1, 2011. Thus, a
          total of 41,970 (78.5% of the total), have an offense date before July 1,
          2011.

       d. Although July 1, 2011, has legal significance as the offense date before
          which registrants do not have to comply with certain registry requirements
          due to ex post facto concerns, it also roughly divides the registry between
          those for whom more than 10 years has passed since the offense, and those
          for whom it has not.
Costs of Basic Registry Operations
  17. The basic operation of the registry—collecting, entering, and publishing infor-
      mation from all registration and reporting; training staff; procuring and main-
      taining hardware, software, or outside contractors; and monitoring registrants
      for compliance—imposes costs at both the state and local levels.

  18. The MSP SOR Unit is responsible for maintaining the registry and the registry
      website. The SOR Unit has a gross annual budget of $1.0 million. 2

  19. Non-incarcerated registrants report to a local registering authority (local
      police department, sheriff’s department, or MSP post). M.C.L. § 28.722(m).
      Depending on their tier level, such registrants must report in person one, two,
      or four times a year. M.C.L. § 28.725a(3). All registrants must also report


   2
    This information is drawn from the Senate Fiscal Agency Summary of H.B.
5679 (S-1) on Third Reading, completed 12-16-20 by Fiscal Analyst Bruce Baker.
See https://www.legislature.mi.gov/documents/2019-2020/billanalysis/Senate/pdf
/2019-SFA-5679-B.pdf.
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       changes in required information within specified deadlines, usually within
       three business days, and often in person. See, e.g., M.C.L. § 28.725.

  20. In Michigan, the state has—to my knowledge—conducted no studies to
      determine the cost to local authorities of handling SORA registration and
      reporting. But given that there are roughly 35,000 active non-incarcerated
      registrants who must report, and that most will be reporting at least four times
      a year, the costs to local registering authorities across the state are likely
      significant. 3

  21. For incarcerated registrants, the MDOC and county jails are responsible for
      SOR-related reporting and administration. See, e.g., M.C.L. §§ 28.724(4),
      28.725(4)-(6), 28.725a(2). The staffing and other costs to the MDOC, as well
      as to sheriffs’ departments operating county jails, for such reporting have like-
      wise, to my knowledge, never been calculated by the state, and are unknown.

Statewide Law Enforcement Sweeps

  22. As part of SORA monitoring, in the past the MSP coordinated with local law
      enforcement on periodic statewide sweeps of addresses at which active regis-
      trants were supposed to be residing. See Table 1. 4 The information available
      to me shows that seven such sweeps were conducted between 2008 and 2012.
      Information about two of them is lacking, but the remaining five sweeps show
      an average for each sweep as follows:

       a. 2,180 residences checked;
       b. 144 people arrested;
       c. 329 warrants issued;
       d. 99 federal, state and local law enforcement agencies were involved.

  23. From the available data, we do not know how many personnel from each law
      enforcement agency participated; for what violations the arrests were made;
   3
     Registrants who are not indigent are charged a $50 annual fee. M.C.L.
§ 28.725a(6), of which $30 goes to the MSP and $20 goes to local law enforcement
M.C.L. § 28.725b(1). The Senate fiscal analysis says that about $900,000 is collec-
ted annually for deposit into the SOR fund for the MSP. See note 2.
   4
     This information appears in Does I, No. 2:12-cv-11194 (E.D. Mich.), Defs.’
Resps. to Pls.’ First Set of Interrogs. and Reqs. for Production of Documents (on file
with author).
                                          5
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       how many of the arrests resulted in a conviction; what proportion of all annual
       SORA convictions resulted from such sweeps; or what the total costs were.
       But given the number of residences targeted in each sweep, the resources
       involved were likely to be significant.

  24. I do not have information about whether, where, and to what extent local-only
      sweeps were also done, or whether and to what extent state or local sweeps
      have continued to occur since 2012.

Prosecutions for Registry Violations

  25. Michigan’s SORA creates penalties for noncompliance with registry require-
      ments. These range from a maximum of 90 days in jail for failing to pay the
      registration fee to a maximum of 10 years in prison for failing to register, third
      offense. M.C.L. § 28.729.

  26. Table 2 shows the number of dispositions for SORA violations statewide for
      each year from 2010-2019. 5 The 10-year total was 8,812 dispositions, for an
      annual average of 881 dispositions. The data in Table 2 comes from MDOC
      annual reports.

  27. I also reviewed data from Does I provided in 2013 in response to Plaintiffs’
      First Request for Production of Documents, Request 2c. That document (on
      file with me) contained a table for every county showing the number of people
      convicted of a SORA violation from 1998 to 2013 (partial year). 6 A somewhat
      condensed form of the data from Does I is attached as Table 3. The convic-
      tions were sorted among multiple statutory provisions. Dropping the partial
      year data, the total number of convictions over the 15 years (1998 to 2012)


   5
     This information is drawn from the annual MDOC Statistical Report, Table A2,
Criminal Court Dispositions by Offense and Type of Disposition – Non-Assaultive
Offenses, for each of the enumerated years. Figures in my Table 2 are rounded, and
“attempts” are combined with completed offenses. Some defendants may have had
multiple dispositions. I used 2019 as the last year to avoid artificial skews in the data
caused by the COVID-19 pandemic.
   6
     The table goes back to 1994, but for the first four years, as SORA was being
implemented and the registry gradually populated, very few registrants were prose-
cuted.

                                           6
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       was 14,884, for an average annual number of “dispositions” of just under
       1,000 per year. 7

  28. Although no cost studies have been done, each of the 880 to 1,000 such
      “dispositions” (depending on the data set used) is the product of a court case
      that has to be investigated by police, reviewed and charged by a prosecutor,
      defended by defense counsel (often at public expense), litigated until pled out
      or tried—followed by a presentence report, sentencing, and possible appeal.
      The cost of processing such SORA enforcement cases per year is unknown,
      but presumably is significant.
Incarceration Costs
  29. The costs of SORA described above do not include the cost of punishment.
      Although fewer than 3% of active non-incarcerated registrants are convicted
      of SORA violations each year, the price of incarcerating them can be calcu-
      lated for prisons based on state-supplied data, and can be estimated for jails
      based on known cost evaluations from other sources.

  30. Prisons: Table 4 shows that a total of 409 people were committed to the
      MDOC for SORA-related convictions for the period from 2015-2019, for an
      average annual rate of 82 commitments per year. Table 4 also shows the
      average minimum sentence imposed for each type of violation. 8 I have also
      included the actual average cost of incarceration per prisoner (reported by the
      MDOC annually) for each of those five years (which ranges from an equi-
      valent daily cost of about $96 per day in 2015 to $108 per day in 2019).

  31. When the number of commitments is multiplied by the average minimum sen-
      tence and the annual cost per prisoner, the total cost to keep SORA violators
      in prison for the five-year period was about $26,885,000. Dividing by five,


   7
     The somewhat lower numbers in the MDOC data set are attributable to the fact
that many misdemeanors may not get reported to the MDOC, as shown in Table 3a,
attached. Accordingly, cost estimates and other observations based on the MDOC
data should be viewed as conservative (that is, understated).
   8
     This information is drawn from Table B2a, Commitments by Minimum Term
Distribution—Non-Assaultive Offenses, in the annual MDOC Statistical Report for
each of the enumerated years. Links to the MDOC annual reports can be found at
https://www.michigan.gov/corrections/0,4551,7-119-1441---,00.html.

                                         7
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        the average annual cost was about $5,377,000 a year. 9 The added cost for
        parole supervision of people with SORA-related convictions is unknown.

  32. Jails: Table 5 shows dispositions to county jails, with and without probation,
      for SORA-related convictions for each year from 2015-2019. Table 5 shows
      that, according to MDOC figures, a total of 3,084 people were committed to
      county jails for SORA-related convictions for the period from 2015-2019, for
      an average annual rate of 617 commitments per year. Because there is no data
      publicly available regarding the actual sentences imposed (or the actual time
      served) for each offense, I used the following averages:

        •   Jail for felony – six months
        •   Jail + probation for felony – four months
        •   Jail for misdemeanor – one month
        •   Jail + probation for misdemeanor – two months. 10

  33. The cost of jail sentences is borne by and varies by county. Calculating an
      exact overall annual expenditure for SORA-related jail sentences is not possi-
      ble. To achieve a credible estimate, I used a conservative figure of $62 per
      day. 11 When the number of dispositions is multiplied by the average sentence

   9
    This, too, is a conservative base cost because an unknown number of people
may have served an unknown amount of time beyond their minimum sentences.
   10
     These averages were drawn from Michigan Joint Task Force on Jail and Pretrial
Incarceration, Report and Recommendation (Jan. 10, 2020), p. 14.
   11
       The $62 figure was drawn from Hornby Zeller Associates, Inc., The Cost of
Raising the Age of Juvenile Justice in Michigan, Final Report (March 14, 2018), at
25, https://council.legislature.mi.gov/Content/Files/cjpc/MIRaisetheAgeFinalRepo
rt03.14.2018.pdf. This figure is corroborated by a 2017 presentation to the Michigan
Criminal Justice Policy Commission, which said: “The average cost of a jail bed
nationally is about $60.00, it varies across the state of Michigan.” See Barbara
Hankey and Tim Bouwhuis, Reforming Pretrial Justice in Michigan, CJPC minutes
(Mar. 1, 2017) p.12 slide 11, https://council.legislature.mi.gov/Content/Files/cjpc/
Minutes.Final_CJPC_Mar%201%202017.pdf. In addition, M.C.L. § 801.83, which
was enacted in 1984 and last amended in 1999, sets a maximum of $60 on the amount
per day that counties can charge jail inmates. It is likely that per day costs have risen
and that the current average is above $62, which is why I say the figure is conserv-
ative.

                                           8
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        and the estimated daily cost, it results in a five-year (2015 to 2019) estimated
        total cost of $29,360,000 which works out to an average annual cost of about
        $5,877,000.

   34. The additional supervision costs for the average annual 346 dispositions to
       probation shown in Table 2 are unknown.

   35. In addition to the cost of incarcerating people who are sentenced either to
       prison or to jail for SORA violations in the first instance, the statute also man-
       dates incarceration for willful violations committed while a registrant is on
       parole or probation.12

   36. Thus, parole is revoked and the individual is returned to prison regardless of
       whether any other parole violations have occurred, or whether the parole
       board, given discretion, would have revoked parole solely for the SORA
       infraction. The statute does not set any minimum prison time the parolee must
       serve before being re-paroled, and it is unclear how much the MDOC is
       spending on incarceration resulting from such automatic violations.

   37. Likewise, if probation is revoked, the defendant is sentenced to jail or prison
       for the offense for which probation was the original sentence. I found no data
       available to calculate the sentences imposed in probation revocation cases
       where SORA violations were the sole basis of the revocation and resulting
       incarceration.

   38. Adding both the prison and jail costs yields an annual sum of $11,254,000 for
       incarcerating people convicted of SORA violations, not including people who
       were paroled beyond their minimum sentences, whose probation or paroles
       were revoked solely for SORA violations, or whose jail sentences may not
       have been reported to the MDOC.

   39. The incarceration costs are also on top of the MSP SOR Unit and local law
       enforcement expenditures for maintaining the registry, administering regis-
       tration and reporting, and monitoring/enforcement (such as sweeps, policing,
       prosecution and defense, court costs, probation, and appeals). It is reasonable
   12
      M.C.L. § 28.729(7) (“The parole board shall rescind the parole of an individual
released on parole who willfully violates this act.”); M.C.L. § 28.729(5) (“The court
shall revoke the probation of an individual placed on probation who willfully vio-
lates this act.”).

                                            9
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       to believe these other costs associated with Michigan’s SORA add several
       million dollars a year beyond the costs of incarceration.
Statement of Compensation:

   40. I have provided this report pro bono.

       I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct to the best of my knowledge, infor-
mation, and belief.
                                       s/ Barbara R. Levine P24207
Dated: January 30, 2022                Barbara R. Levine, Esq.




An index of appendix and tables appear below.




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                                Index of Exhibits

Appendix A: Articles Authored by Barbara R. Levine

   Table 1:   Statewide Sweeps for SORA Violators 2008-2012

   Table 2:   Criminal Court Dispositions of SORA Violations by Offense
              Type and Disposition – 2010-2019 (from the MDOC)

   Table 3:   Number of Individuals Convicted of a SORA Violation by County.
              1998-2012 (from discovery in Does I)

   Table 3a: Comparison of Data (from the MDOC versus Does I) on Convictions
             for SORA Violations

   Table 4:   Prisoners Committed to Prison for SORA-Related Convictions:
              Number, Average Minimum Sentence, Cost – 2015-2019

   Table 5:   Dispositions to County Jails for SORA-Related Convictions: Number,
              Average Sentence Length, Cost (at $62/day) – 2015-2019
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                                   Appendix A:
        Publications by Barbara L. Levine from Citizens Alliance on Prisons
                 and Public Spending, and Safe and Just Michigan

• Do Michigan’s Sentencing Guidelines Meet the Legislature’s Goals? A
  Historical and Empirical Analysis of Prison Terms for Life-Maximum Offenses
  (Nov. 2021) [Co-author]

• 10,000 fewer Michigan prisoners: Strategies to reach the goal (June 2015)

• Paroling people who committed serious crimes: What is the actual risk? (Dec.
  [Co-author]

• Corrections spending proposals reflect major policy choices: Examining the
  consequences (May 2014)

• Parolable Lifers in Michigan: Paying the price of unchecked discretion (Feb.
  2014)

• Michigan’s Parolable Lifers: The Cost of a Broken Process (June 2013)

• Denying parole at first eligibility: How much public safety does it actually buy?
  A study of prisoner release and recidivism in Michigan (Aug. 2009)

• When “life” did not mean life: a historical analysis of life sentences imposed in
  Michigan since 1990 (Sept. 2006)

• Foreign Nationals in Michigan Prisons: An examination of the costs (Apr. 2006)
  [Editor]

• Penny-wise & pound-foolish: Assaultive offender programming and Michigan’s
  prison costs (Apr. 2005) [Co-author]

• No way out: Michigan’s parole board redefines the meaning of “life” (Sept.
  2004)

• The high cost of denying parole: an analysis of prisoners eligible for release
  (Nov. 2003)


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                               Table 1:
        Statewide Sweeps for SORA Violators
                              2008-2012
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                   Table 1. Statewide Sweeps for SORA Violators
                                     2008-2012
 Dates                         Residence            Arrests         Warrants Issued        Law Enforcement
                                Checks                                                     Agencies Involved
                                                                                           (federal, state,
                                                                                           local)
 10/20 - 10/31/08                    3,194                196                      682                       90
 2/2 - 2/13/09                       2,220                150                      405                       70
 2/1 - 2/12/10                       1,512                179                      248                      120
 6/14 - 6/25/10                   unknown             unknown                 unknown                 unknown
 10/18 - 10/29/10                    2,232                144                      193                      125
 10/17 - 10/28/11                 unknown             unknown                 unknown                 unknown
 10/16 - 10/30/12*                   1,742                 51                      116                       90
 TOTAL (of                          10,900                720                    1,644
 available data)
 Average/sweep (of                     2,180                 144                    329                        99
 five sweeps with
 data)
         *This was characterized in an MSP press release dated Nov. 16, 2012, as the “ninth annual coordinated
         sweep” but the response to the Plaintiff’s request and supporting documents showed only the seven listed
         here.




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                               Table 2:
 Criminal Court Dispositions of SORA Violations by
     Offense Type and Disposition – 2010-2019
                 (from the MDOC)
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              Table 2. Criminal Court Dispositions of SORA Violations by Offense and Type of Disposition – 2010 - 2019

                          2010 2011 2012 2013           2014   5 Year     2015    2016   2017     2018    2019 5 Year  10 Year
                                                               Average                                         Average Average
Failure to Register/1st
MCL 28.729 & 729(1)(a)
  (4 yr maximum)
   Total                  595    554     530    580      591       570     618     556     510     345    328       471     521
   Prison                  96     79      95    114      117       100     111      63      63      56     38        66      83
   Jail                   207    253     244    233      239       235     229     236     243     149    159       203     219
   Jail/Probation         168    142     127    155      159       150     200     162     142      88     81       135     143
   Probation              105     63      53     62       55        68      68      78      49      45     44        57      63
   Other                   19     17      11     16       21        17      10      17      13       7      6        11      14
Failure to Register/2nd
MCL 28.729(1)(b)
  (7 yr maximum)
   Total                   49     49      57      63      61        56      71      69      64      42     43        58      57
   Prison                  15     19      23      15      17        18      19      10      17      10      6        12      15
   Jail                    18     18      21      27      27        22      33      31      21      18     26        26      24
   Jail/Probation          11      8       9      14      13        11      15      23      24       8     11        16      15
   Probation                5      3       3       6       3         4       4       4       2       6     ---        3       4
   Other                    --     1       1       1       1         1      ---      1      ---     ---    ---       ---      1
Failure to Register/3rd
MCL 28.729(1)(c)
  (10 yr maximum)
  Total                    16     15      25      21      20        19      36      30      45      24     34        34      27
  Prison                    4      6       5       4       7         5      15       8      15      10     12        12       9
  Jail                      7      6      13      10       7         7      16      13      19      11     16        15      11
  Jail/Probation            5      3       5       5       3         4       2       6       9       3      5         5       5
  Probation                 --     --      1       2       2         1       2       2       2      ---     1         1       1
  Other                     --     --      1       --      1         --      1       1      ---     ---    ---       ---      --




                                                                      1
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                        2010 2011 2012 2013      2014    5 Year     2015    2016    2017    2018    2019 5 Year  10 Year
                                                         Average                                         Average Average
Failure to Comply w/
Duties
MCL 28.729(2)
  (2 yr maximum)
   Total                 43    50    315   363    339        222     312     314     309     211    208      271      247
   Prison                 --    2     36    38     47         25      38      25      18      13     20       23       24
   Jail                  21    31    124   162    146         97     130     114     145      97    100      117      107
   Jail/Probation         7     6     92    98     98         60      76      98      80      61     62       75       68
   Probation             11     8     53    54     33         32      58      66      55      32     17       46       39
   Other                  4     3     10    11     15          9      10      11      11       8      9       10       10
Failure to Report/2nd
MCL 28.729(2)(b)

   Total                 18    13     1     2       --         7       1       2       --      1      --      1         4
   Prison                 --    1     --    --      --         --      --      --      --      --     --      --        --
   Jail                  13     9     --    1       --         5       1       --      --      --     --      --      2.5
   Jail/Probation         2     2     --    --      --         1       --      --      --      1      --      --        --
   Probation              3     1     1     1       --         1       --      2       --      --     --      --        1
   Other                  --    --    --    --      --         --      --      --      --      --     --      --        --
Failure to Report/3rd
MCL 28.729(2)(c)
  (4 yr maximum)
  Total                  40    24     6     1       --        14       --      1       2       --     --      1         8
  Prison                  5     5     4     --      --         3       --      --      --      --     --      --        2
  Jail                   20    10     2     1       --         7       --      --      2       --     --      --        4
  Jail/Probation         11     8     --    --      --         4       --      --      --      --     --      --        2
  Probation               3     1     --    --      --         1       --      --      --      --     --      --        --
  Other                   1     --    --    --      --         --      --      1       --      --     --      --        --




                                                                2
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                        2010 2011 2012 2013          2014    5 Year     2015    2016    2017    2018   2019 5 Year  10 Year
                                                             Average                                        Average Average
Other SORA
Violations 1
MCL 28.7293 & 7294
  (90-93 days)
  Total                    3      7      5      4       6          5      23      47      29      38    33       34        20
  Prison                   --     --     --     --      --         --      --      --      --      1     1        --        --
  Jail                     3      3      4      1       5          3      14      16      17      18    19       17        10
  Jail/Probation           --     2      --     1       --         1       --     12       4       8    10        7         4
  Probation                --     2      1      2       --         1       6      17       3       5     2        7         4
  Other                    --     --     --     --      1          --      3       2       5       6     1        3         2
Total SORA Violations
  Total                  764    712    939 1,034 1,017           893 1,061      1,019    959     661   646      869       881
  Prison                 120    112    163   171   188           151   183        106    113      90    77      114       133
  Jail                   289    330    408   435   424           377   423        410    447     293   320      379       378
  Jail/Probation         204    171    233   273   273           231   293        301    259     169   169      238       235
  Probation              127     78    112   127    93           107   138        169    111      88    64      114       111
  Other                   24     21     23    28    39            27    24         33     29      21    16       25        26




1
 These include failure to sign the registration form and failure to pay the registration fee. Student safety zone violations were
excluded because the requirements have been repealed and such violations cannot occur in the future.



                                                                    3
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                               Table 3:
      Number of Individuals Convicted of a SORA
          Violation by County. 1998-2012
             (from discovery in Does I)
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     Table 3. Number of Individuals Convicted of a SORA Violation
                              By County, 1998-2012*


      County                       15-Year Total                 Average Per Year
      Kent                                1,769                          117.9

      Ottawa                                 753                          50.2

      Muskegon                               729                          48.6

      Macomb                                 625                          41.7

      Berrien                                608                          40.5

      Washtenaw                              601                          40.1

      Wayne                                  571                          38.1

      Oakland                                567                          37.8

      Calhoun                                495                          33.0

      Totals

      9 Highest Volume Counties           6,718                          447.9**

      Grand Total, All Counties          14,884                          992.3

      *The years 1994-1997 were omitted because of minimal data; 2013 was omitted because
      data was available for only part of the year.
      **All other counties averaged fewer than 30 individuals per year




                                             1
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                              Table 3a:
Comparison of Data (from the MDOC versus Does I)
      on Convictions for SORA Violations
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             Table 3a. Comparison of Data on Convictions for SORA Violations

     Year          Total     28.729 28.7291B 28.7291C 28.7292 28.7292B 28.7292C 28.7293
                                                                                       & 7297
                  Figures from Response to Does I Plaintiff’s Request for Documents
     2010           1,607       555          27        11        895          74    20      25
     2011           1,419       538          37        15        737          46    17      29
     2012           1,572       662          40        20        744          16     2      88
                                 Figures from MDOC Statistical Reports
     2010             764       595          49        16         43          18    40       3
     2011             712       554          49        15         50          13    24       7
     2012             939       530          57        25        315           1     6       5


The chart shows that the major discrepancy between the two data sets is in the column of reported versus
unreported misdemeanors.




                                                   1
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                               Table 4:
  Prisoners Committed to Prison for SORA-Related
 Convictions: Number, Average Minimum Sentence,
                Cost – 2015-2019
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                 Table 4. Prisoners Committed to Prison for SORA-Related Convictions
                               Number, Average Minimum Sentence, Cost
                                             2015-2019
                              2015      2016          2017      2018        2019                     5-Yr. Av.
  Failure to Register, 1st
     4 yr. maximum
        Number                         81            49            44            41            29           49
        Average minimum                1.4           1.6           1.7           2.9           3.1
        Annual cost/person        $34,982       $35,157       $36,106       $38,051       $39,391
        Total cost             $3,966,959    $2,756,309    $2,700,729    $4,524,264    $3,541,251


  Failure to Register, 2nd
     7 yr. maximum
        Number                        15              7           11              8             4            9
        Average minimum               1.7           1.8           1.4           1.7           2.1
        Annual cost/person       $34,982       $35,157       $36,106       $38,051       $39,391
        Total cost              $892,041      $442,978      $556,032      $517,494      $330,884

  Failure to Register, 3rd
     10 yr. maximum
        Number                        12              7           13            11            10            11
        Average minimum               1.6           2.2           1.6           2.1           1.7
        Annual cost/person       $34,982       $35,157       $36,106       $38,051       $39,391
        Total cost              $671,654      $541,418      $751,005      $878,978      $669,647
  Failure to Comply w/Duties
     2 yr. maximum
        Number                         20           21            12              8             6           13
        Average minimum                1.6          1.2           1.2           1.1           1.2
        Annual cost/person        $34,982      $35,157       $36,106       $38,051       $39,391
        Total cost             $1,119,424     $885,956      $519,926      $334,849      $283,615

  TOTAL NUMBER                        128            84            80            68            49            82
  TOTAL COST                   $6,650,078    $4,626,661    $4,527,692    $6,255,585    $4,825,397    $5,377,083




                                                      1
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                               Table 5:
    Dispositions to County Jails for SORA-Related
   Convictions: Number, Average Sentence Length,
           Cost (at $62/day) – 2015-2019s
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                                         Table 5. Dispositions to County Jails for SORA-Related Convictions
                                                  Number, Average Sentence Length, Cost (at $62/day)
                                                                     2015-2019
                                           2015              2016              2017            2018                2019             5-Yr. Av.
Failure to Register/1
                   st

MCL 28.729(1) & 7291(a) (4 yr max)
 Jail: 6 mos. = $11,315                    229=$2,591,135   236=$2,670,340       243=$2,749,545   149=$1,685,935   159=$1,799,085   203=$2,296,945
 Jail + proba: 4 mos = $7,440              200=$1,488,000   162=$1,205,280       142=$1,056,480    88=$ 654,720     81=$ 602,640    135=$1,004,400
Failure to Register/2nd
MCL 28.729(1)(b) (7 yr max)
 Jail: 6 mos. = $11,315                    33=$373,395      31=$350,765          21=$237,615      18=$203,670      26=$294,190      26=$294,190
 Jail + proba: 4 mos.=$7,440               15=$111,600      23=$171,120          24=$178,560       8=$ 59,520      11=$ 81,840      16=$119,040
Failure to Register/3rd
MCL 28.729(1)(C) (10 yr max)
 Jail: 6 mos =$11,315                      16=$181,040      13=$147,095          19=$214,985      11=$124,465      16=$181,040      15=$169,725
 Jail + proba: 4 mos.=$7,440                2=$ 14,880       6=$ 44,640           9=$ 66,960       3=$ 22,320       5=$ 37,200       5=$ 37,200
Failure to Comply w/ Duties
MCL 28.729(2) (2 yr max)
 Jail: 6 mos =$11,315                      131=$1,482,265   114=$1,289,910       147=$1,663,305   97=$1,097,555    100=$1,131,500   118=$1,332,907
 Jail + proba: 4 mos.=$7,440                76=$ 565,440     98=$ 729,120         80=$ 595,200    62=$ 461,280      62=$ 461,280     76=$ 565,440
Other SORA Violations
MCL 28.7293 (93 days) & 7294 (90 days)
 Jail: 1 mo =$1,860                         14=$26,040       16=$29,760          17=$31,620       18=$33,480       19=$35,340        17=$31,620
 Jail + proba: 2 mos.=$3,720                --               12=$44,640           4=$14,880        8=$29,760       10=$37,200         7=$26,040
Total SORA Violations
 Jail: 6 mos =$11,315                      409=$4,627,835   394=$4,458,110       430=$4,865,450   275=$3,111,625   301=$3,405,815   362=$4,100,556
 Jail + proba: 4 mos.=$7,440               293=$2,179,920   289=$2,150,160       255=$1,897,200   161=$1,197,840   159=$1,182,960   231=$1,718,640
 Jail: 1 mo = $1,860                        14=$ 26,040      16=$ 29,760          17=$ 31,620      18=$ 33,480      19=$ 35,340      17=$ 31,620
 Jail + proba: 2 mos.= $3,720                                12=$ 44,640           4=$ 14,880       8=$ 29,760      10=$ 37,200       7=$ 26,040
Grand Total                                716=$6,833,795   711=$6,682,670       706=$6,809,150   462=$4,372,705   489=$4,661,315   617=$5,876,856




                                                                             1
